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    UNITED STATES DISTRICT COURT
    DISTRICT OF DELAWARE


    YANGAROO INC.,

                          Plaintiff,

                 V.                                                         COMPLAINT

    DIGITAL MEDIA SERVICES, INC.,
    DUPLICATION SERVICES, INC.,                                             Civil Action No.
    PELCO PRINTS, INC.,
    DUPLICATION HOLDINGS CORPORATION,
    DUPLICATION SERVICES, LLC,                                           PUBLIC VERSION
    CENTERFIELD CAPITAL PARTNERS, L.P.,
                                                                         FILED MAY 27, 2022
    CENTERFIELD CAPITAL PARTNERS II, L.P.,
    CENTERFIELD CAPITAL PARTNERS III, L.P.,
    SR CAPITAL ADVISORS, LLC, and
    BDO USA, LLP,

                         Defendants.



                Plaintiff, Yangaroo Inc. ("Yangaroo"), by and through its attorneys, Morris

James LLP and Phillips Lytle LLP, for its complaint against Defendants Digital Media

Services, Inc., Duplication Services, Inc., Pelco Prints, Inc. ("Pelco"), Duplication Holdings

Corporation, Duplication Services, LLC, 1 Centerfield Capital Partners, L.P., Centerfield

Capital Partners II, L.P., Centerfield Capital Partners III, L.P., 2 SR Capital Advisors, LLC

("SR Capital"), and BDO USA, LLP ("BDO"), alleges as follows3 :




1
  "DMS" refers collectively to Digital Media Services, Inc., Duplication Services, Inc., and Pelco;
and "DMS Defendants" refers collectively to DMS, Duplication Holdings Corporation, and
Duplication Services, LLC.
2
  "Centerfield" refers collectively to Centerfield Capital Partners, L.P., Centerfield Capital Partners
II, L.P., and Centerfield Capital Partners III, L.P.
3
  "Defendants" refers collectively to DMS Defendants, Centerfield, SR Capital, and BDO.
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                                       THE PARTIES

              1.      Yangaroo is Canadian corporation with its principal place of business

at 67 Mowat Avenue, Suite 535, Toronto, Ontario, Canada M6K 3E3.

              2.      Digital Media Services, Inc. is a corporation organized under the laws

of the State of California with a principal place of business at 10 East 39th Street, New

York, New York 10016.

              3.     Duplication Services, Inc. is a corporation organized under the laws of

the State of New York with a principal place of business at 10 East 39th Street, New York,

New York 10016.

              4.     Pelco is a corporation organized under the laws of the State of New

York with a principal place of business at 404 Park Ave South, Floor 3, New York, New

York 10016.

              5.     Duplication Holdings Corporation is a corporation organized under

the laws of the State oflndiana, with a principal place of business at 10 West Market Street,

Suite 3030, Indianapolis, Indiana 46204. It owns all of the issued and outstanding capital

stock of Digital Media Services, Inc., Duplication Services, Inc., and Pelco.

              6.     Duplication Services, LLC is a limited liability company organized

under the laws of the State of Delaware with a principal place of business at 10 West Market

Street, Suite 3030, Indianapolis, Indiana 46204. It owns all of the issued and outstanding

capital stock of Duplication Holdings Corporation.

              7.     Centerfield Capital Partners, L.P. is a limited partnership organized

under the laws of the State of Delaware with a principal place of business at 10 West Market

Street, Suite 3030, Indianapolis, Indiana 46204.



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